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            1                              UNITED STATES DISTRICT COURT
            2                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
            3                                       OAKLAND DIVISION
            4
                 EPIC GAMES, INC.,                           Case No. 4:20-cv-05640-YGR-TSH
            5
                                       Plaintiff, Counter-   [PROPOSED] ORDER RE: DEFENDANT
            6                          defendant             APPLE INC.’S ADMINISTRATIVE
                                                             MOTION TO SEAL EXHIBITS PX-1017
            7         v.                                     AND EXHIBIT PX-2946
            8    APPLE INC.,
            9                          Defendant,
                                       Counterclaimant.
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Gibson, Dunn &
                       [PROPOSED] ORDER RE: DEFENDANT APPLE INC.’S ADMINISTRATIVE MOTION TO SEAL
Crutcher LLP                                   EXHIBITS PX-1017 AND PX-2946,
                                                     4:20-cv-05640-YGR
                     Case 4:20-cv-05640-YGR Document 747-2 Filed 05/24/21 Page 2 of 2


            1           Defendant Apple Inc. (“Apple”) has filed an Administrative Motion to Seal Exhibits PX-1047
            2    and PX-2946 (the “Motion”). In support, Apple filed the supporting declaration of Rachel S. Brass.
            3           Having considered the Motion, all associated declarations, exhibits, and any argument of
            4    counsel, and for good cause appearing:
            5           IT IS HEREBY ORDERED that the Motion is GRANTED. Accordingly:
            6           For the reasons articulated in the table below, selected portions of Exhibits PX-1047 and PX-
            7    2946 shall remain under seal.
            8

            9     Trial Exhibit         Reason for Sealing and Evidence Offered in Support             Grant or Deny
                       No.
          10
                                  Contains non-public financial/business information that, if
          11                      disclosed, would put Apple at a competitive disadvantage. Brass
          12                      Decl. ¶¶ 6–7; see also Dkt. 614 at 6 (order sealing Cragg Rebuttal
                    PX-1017       Figure 25 because it “contains Apple’s confidential financial
          13                      information”); Dkt. 509-11 at 46 (unredacted Cragg Figure 25
                                  containing same, now-sealed non-public Apple confidential
          14                      financial information reflected in Exhibit PX-1017).
          15                      Contains non-public financial/business information that, if
                                  disclosed, would put Apple at a competitive disadvantage. Brass
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                                  Decl. ¶¶ 6–7; see also Dkt. 614 at 5 (order sealing Cragg Rebuttal
          17        PX-2946       Figure 4 because it “contains Apple’s confidential business
                                  information”); Dkt. 509-11 at 17 (unredacted Cragg Figure 4
          18                      containing same, now-sealed non-public Apple confidential
                                  business information reflected in Exhibit PX-2946).
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          21            IT IS SO ORDERED.

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          23      DATED: ______________________, 2021

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          25                                                          ______________________________________
                                                                         The Honorable Yvonne Gonzalez Rogers
          26                                                                  United States District Judge
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Gibson, Dunn &          [PROPOSED] ORDER RE: DEFENDANT APPLE INC.’S ADMINISTRATIVE MOTION TO SEAL
Crutcher LLP
                                                EXHIBITS PX-1017 AND PX-2946,
                                                     4:20-CV-05640-YGR
